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                         EXHIBIT B
                            TO
STIPULATION OF DISMISSAL WITH PREJUDICE OF TEVA PARTIES AND
       MOTION FOR ORDER OF DISMISSAL WITH PREJUDICE
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

In re:                                               )            MDL No. 1456
                                                     )            Civil Action No. 01-12257-PBS
                                                     )
PHARMACEUTICAL INDUSTRY                              )             Subcategory No. 06-11337
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )
                                                     )
                                                     )
THIS DOCUMENT RELATES TO:                            )
United States of America ex tel. Ven-A-Care of       )             Judge Patti B. Saris
the Florida Keys, Inc., by and through its principal )
officers and directors, Zachary T. Bentley and       )
T. Mark Jones v. Aetavis Mid Atlantie LLC, et al. )


  CONSENT OF THE UNITED STATES OF AMERICA TO THE RELATOR’S DISMISSAL
       WITH PREJI~ICE OF CLAIMS PURSUANT TO 31 U.S.C. § 3730 (b) (1)


         Pursuant to 31 U.S.C. {} 3730(b) (1), the United States hereby consents to:



         (1)       The dismissal with prejudice of the above-captbned action with respect to Teva

                   Pharmaceuticals USA, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., Duramed

                   Research, Inc., Zenith Goldline Pharmaceuticals, Inc., Goldline Laboratories, Inc.,
                   Barr Pharmaceuticals, Inc., and Barr Laboratories, Inc. (collectively, "Teva"),

                   pursuant to the Settlement Agreement between Relator, Ven-A-Care of the Florida

                   Keys, Inc. (the "Relator’), and Teva with respect to all claims by the Relator on

                   behalf of the United States against Teva in the above-styled action; and



         (2)       The entry of the proposed Order of Dismissal with Prejudice in the form attached to

                   the Settlement Agreement and Release as Exhibit 5 and attached hereto as Exhibit
                   No
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         The United States has concluded that the amount of $I00,000,000 that it will receive in

connection with the settlement is fair, adequate, and reasonable as to the United States under all the

circumstances.

                                    Respectfully submitted,


                                    TONY WEST
                                    Ass istant Attorney General


                                   Joyce R. Branda
                                   Daniel R. Anderson
                                   Laurie A. Oberembt
                                   U.S. Department of Justice
                                   Civil Division
                                   Commercial Litigation Branch
                                   P.O. Box 261
                                   Ben Franklin Station
                                   Washington, D.C. 20044
                                   (202) 514-3345


Dated:                 ,2010
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                             EXHIBIT A
                                TO
CONSENT OF THE UNITED STATES OF AMERICA TO THE RELATOR’S DISMISSAL
      WITH PREJUDICE OF CLAIMS PURSUANT TO 31 U.S.C. § 3730 (b) (1)
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

In re:                                               )              MDL No. 1456
                                                     )              Civil Action No. 01-12257-
PBS                                                  )
PHARMACEUTICAL INDUSTRY                              )              Subcategory No. 06-11337
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )
_________________________________                    )
                                                     )
THIS DOCUMENT RELATES TO:                            )
United States of America ex rel. Ven-A-Care of       )              Judge Patti B. Saris
the Florida Keys, Inc., by and through its principal )
officers and directors, Zachary T. Bentley and       )
T. Mark Jones v. Actavis Mid Atlantic LLC, et al. )


         ORDER OF DISMISSAL WITH PREJUDICE OF CERTAIN DEFENDANTS

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions

of the federal False Claims Act, Relator Ven-A-Care of the Florida Keys, Inc. (the “Relator”)

and Teva Pharmaceuticals USA, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., Duramed

Research, Inc., Zenith-Goldline Pharmaceuticals, Inc., Goldline Laboratories, Inc., Barr

Pharmaceuticals, Inc., and Barr Laboratories, Inc. (collectively, “Teva”) (Teva together with

Relator collectively the “Parties”) filed with this Court, a Stipulation of Dismissal and Motion

for Order of Dismissal with Prejudice of Teva. Upon due consideration of the Stipulation and

the Parties’ Settlement Agreement and Release, the United States’ Consent, the Consent of the

State of California, the lack of objection to the proposed Settlement, and the Court’s

determination that the Settlement Amount appears to the Court to be fair, adequate, and

reasonable under all the circumstances, the Court hereby approves the Settlement.

         WHEREFORE, IT IS ORDERED, that

         1.     Consistent with the terms of the Settlement Agreement and Release attached

hereto as Exhibit A, the above-captioned Civil Action, is dismissed with prejudice as to Teva;
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       2.      This Order resolves all claims against Teva for the federal share of Medicaid

overpayments brought in the above-captioned Civil Action; however, this Order shall in no way

prejudice or limit any claims for a state’s share except as provided for in the Settlement

Agreement as to the State of California.

       3.      Each party shall be responsible for its own expenses, attorneys’ fees, and costs.

       4.      The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate.

       IT IS SO ORDERED this _____ day of _____________, 2010.



                                             ________________________________________
                                             THE HONORABLE PATTI B. SARIS
                                             UNITED STATES DISTRICT COURT JUDGE
